                                 COURT OF APPEALS FOR THE
                            FIRST DISTRICT OF TEXAS AT HOUSTON

                                             ORDER

Appellate case name:      Joshua Denagelo Myles v. The State of Texas

Appellate case number:    01-17-00483-CR             Trial court case number:     1522818

Trial court:              262nd District Court of Harris County

        Appellant Joshua Denagelo Myles’s court-appointed counsel filed a brief
concluding that the above-referenced appeal is frivolous. See Anders v. California, 386
U.S. 738, 744, 87 S. Ct. 1396, 1400 (1967). Counsel has not, however, filed a letter in
accordance with Kelly v. State, 436 S.W.3d 313 (Tex. Crim. App. 2014), “to notify his
client that, should he wish to exercise his right to review the appellate record in preparing
to file a response to the Anders brief, he should immediately file a motion for pro se access
to the appellate record with the applicable court of appeals,” which letter includes “a form
motion . . ., lacking only the appellant’s signature and the date, . . . inform[ing] the appellant
that, in order to effectuate his right to review the appellate record pro se, should he choose
to invoke it, he must sign and date the motion and send it on to the court of appeals within
ten days of the date of the letter from appellate counsel.” 436 S.W.3d at 319–20.
        Accordingly, we order appellant’s appointed counsel, Terrence Gaiser, to send a
letter and a form motion, such as the motion attached to this order, to the appellant in
accordance with Kelly. Id. We further order appellant’s appointed counsel to notify us, in
writing, “that he has (1) informed the appellant of the motion to withdraw, (2) provided the
appellant with the requisite copies while notifying him of his various pro se rights, and (3)
supplied him with a form motion for pro se access to the appellate record.” Id. at 320.
Counsel shall send the required letter to his client and shall file the required notice with the
Clerk of this Court within 14 days of the date of this order.
       It is so ORDERED.

Judge’s signature: /s/ Jennifer Caughey
                   X Acting individually     Acting for the Court


Date: August 14, 2018
Return to:
First Court of Appeals
301 Fannin Street
Houston, Texas 77002


                               No. 01-___-__________-CR
_________________                          §                   COURT OF APPEALS
                                           §                   1ST DISTRICT
The State of Texas                         §                   HOUSTON, TEXAS


                     Pro se Motion for Access to Appellate Record
To the Honorable Justices of Said Court:
       Appellant’s appointed counsel has filed a brief in the above styled and numbered
cause pursuant to Anders v. California, 386 U.S. 738 (1967).
       Appellant now moves this Court to provide him with a copy of the appellate
record including the clerk’s record and the court reporter’s record for use in preparing his
pro se response to counsel’s brief.
      Appellant requests an extension of time of 30 days from the granting of this
motion to file a pro se response to counsel’s Anders brief.
                                           Respectfully submitted,


                                           _______________________
                                           Pro se Appellant
                                           _____________ Unit,TDCJ # __________
                                           ____________, Texas _______


                                  Certificate of Service
       This is to certify that on ____________, a true and correct copy of the above and
foregoing document was served by mail on the Harris County District Attorney’s Office
at 1201 Franklin Street #600, Houston, Texas 77002.
                                           _______________________
                                           Pro se Appellant
